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                                  20225



                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUÑIZ,
  MARCUS MARTIN, NATALIE ROMERO,
  CHELSEA ALVARADO, JOHN DOE, and
  THOMAS BAKER,                                              Civil Action No. 3:17-cv-00072-NKM
                                 Plaintiffs,
                                                                 JURY TRIAL DEMANDED
          v.
  JASON KESSLER, et al.,
                                 Defendants.


               [PROPOSED] SUPPLEMENTAL ORDER REGARDING JURORS

        WHEREAS the jury trial in this case is scheduled to be conducted from October 25 to

 November 19, 2021;

        WHEREAS the Court issued a Pretrial Order on October 7, 2021, pertaining to certain

 procedures regarding the trial of this matter, including the selection of the jury, see ECF No. 1172;

        WHEREAS the Court finds that the following additional procedures pertaining to jurors

 will additionally promote efficient preparation for and conduct of the trial in this case;

        It is hereby ORDERED as follows:

        1.      Only the Court, the parties, and their counsel shall be informed of the names,

                addresses, and other personally identifying information of jurors and prospective

                jurors.

        2.      The juror questionnaires that are completed and returned by prospective jurors shall

                be redacted by Court personnel before they are provided to the parties and their

                counsel to remove names, signatures, addresses, and any other personal identifying
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                information. Each questionnaire shall be assigned a number. The parties shall be

                separately provided information matching each questionnaire number with the

                name of each prospective juror.

        3.      All parties and their counsel shall not disclose the names, addresses, and other

                personal identifying information about jurors and prospective jurors to any other

                person without prior authorization of the Court.

        4.      As provided in the Court’s Pretrial Order, ECF No. 1172, only the Court will

                question prospective jurors during voir dire; the parties, however, may submit

                proposed questions to the Court.

        5.      The 12 jurors (and any alternates) who are seated on the jury for trial shall each be

                assigned a number and shall be referred to by such number throughout the trial.

        The Court will consider providing any instructions the Court deems necessary or

 appropriate in order to reduce the risk of any prejudice to any party or concern on the part of any

 juror or prospective juror about the procedures described above.

        This Supplemental Order is intended to supplement rather than to replace the Pretrial Order

 dated October 7, 2021, all of whose terms remain in effect.



        It is so ORDERED.

        The Clerk of Court is directed to send a certified copy of this Order to the parties.

        Date: October ___, 2021


                                                      Hon. Norman K. Moon
                                                      Senior United States District Judge
